Case

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R E C E l V E 0 IN THE UNITED DISTRICT CoURT

FOR THE MIDDLE DISTRICT OF ALABAMA

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sANDl;§}§

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POLLY SMITH, JOANN MORRIS,

MAR 26 2004

MARTY COOPER, ADELIA HARTZOG,

and PAUL

on behalf of themselves and all others
similarly situated,

VS.

RITE AID

. MAN
D PITT ’ CLERK

U. S. DlSTR|CT COURT
MIDDLE DlST. OF ALA.

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Plaintiffs, )

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) CIVIL ACTION NUMBER;

) CV-03-A-748-N

) JURY DEMAND

CoRPoRATIoN, )
)
)

Defendants.

SUPPLEMENTAL EVIDENTIARY SUBMISSION IN SUPPORT OF

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO
FAC]LITATE 29 U.S.C. 8216(b) NOTICE

COME NOW the plaintiffs, by and through the undersigned counsel, and files the following

Supplemental Evidentiary Submission in Support of Plaintiffs’ Memorandum in Support of Motion

to Facilitate 29 U.S.C. §216(b) Notice:

36.

37.

38.

Consent to Become Party PlaintiH` of J ames P. Francis. Mr. Francis is a current Store
Manager With Rite Aid and is employed in Phoenixville, Pennsylvania, Which is in
the defendant’s Eastern Division.

Consent to Become Party Plaintiff of Alberta Armster. Ms. Armster is a current
Store Manager With Rite Aid and is employed in Abbeville, Alabama (#2092).

Consent to Become Par“ty Plaintiff ofJacqueline Johnston. Ms. Johnston is currently
a Key Supervisor With Rite Aid and is employed in Troy, Alabama (#7096). Prior
to July of 2002, Ms. Johnston Was a Store Manager from October, 1998 at the
Luverne, Alabama store (#7066) and in January of 2000 at the Troy, Alabama store
(#7096).

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Case 2:03-cv-OO748-WHA-DRB Document 41 Filed 03/26/04 Page 2 of 3

Respectfully submitted,

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Rbcco Calamusa, Jr.
Craig L. LoWell
Counsel for the Plaintiffs

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OF COUNSEL:

WIGGINS, CI-[[LDS, QUINN & PANTAZIS, P.C.
1400 SouthTrust Tower

Birrningham, Alabama 35203

205/328-0640

CERTIFICATE OF SERVICE

I do hereby certify that l have mailed a copy of the above and foregoing, U.S. Mail, properly
addressed and postage prepaid, on:

Nancy E. Rafuse

Daniel E. Turner

ASHE & RAFUSE, LLP
1355 Peachtree Street, NE
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Atlanta, GA 303 09-3232

David J. Middlebrooks

Jennifer L. HoWard

LEHR, M]DDLEBROOKS, PRICE & VREELAND, PC
P.O. BoX 11945

Birmingham, Alabama 35203

This the 9£( day of March, 2004. /..j

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